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ALBERT EINSTEIN HEALTHCARE NETWORK                 ARENT FOX LLP                            ARENT FOX LLP
PENNY J. REZET                                     GEORGE P. ANGELICH                       PHILLIP KHEZRI
REZETP@EINSTEIN.EDU                                GEORGE.ANGELICH@ARENTFOX.COM             PHILLIP.KHEZRI@ARENTFOX.COM


ASHBY & GEDDES, P.A.                               ASHBY & GEDDES, P.A.                     ATTORNEY FOR THE CITY OF PA
GREGORY TAYLOR                                     KATHARINA EARLE                          MEGAN HARPER
GTAYLOR@ASHBYGEDDES.COM                            KEARLE@ASHBYGEDDES.COM                   MEGAN.HARPER@PHILA.GOV


BALLARD SPAHR LLP                                  BALLARD SPAHR LLP                        BAYARD, P.A.
TOBEY M DALUZ                                      VINCENT J. MARRIOTT                      SOPHIE E. MACON
DALUZT@BALLARDSPAHR.COM                            MARRIOTT@BALLARDSPAHR.COM                SMACON@BAYARDLAW.COM


BAYARD, PA                                         BIELLI & KLAUDER, LLC                    BORGES & ASSOCIATES, LLC
JUSTIN ALBTERTO                                    DAVID KLAUDER                            SUE L. CHIN
JALBERTO@BAYARDLAW.COM                             DKLAUDER@BK-LEGAL.COM                    SCHIN@BORGESLAWLLC.COM


BORGES & ASSOCIATES, LLC                           BUCHALTER, A PROFESSIONAL CORP           CIARDI CIARDI & ASTIN
WANDA BORGES                                       SHAWN M. CHRISTIANSON                    ALBERT CIARDI
WBORGES@BORGESLAWLLC.COM                           SCHRISTIANSON@BUCHALTER.COM              ACIARDI@CIARDILAW.COM


CIARDI CIARDI & ASTIN                              COMMONWEALTH OF PA DEPT OF LABOR AND     COZEN O’CONNOR
JOSEPH MCMAHON                                     INDUSTRY                                 JOHN T. CARROLL, III
JMCMAHON@CIARDILAW.COM                             DEB SECREST                              JCARROLL@COZEN.COM
                                                   RA-LI-UCTS-BANKRUPT@STATE.PA.US

DENTON US, LLP                                     DILWORTH PAXSON                          DLA PIPER LLP
OSCAR PINKAS                                       PETER C. HUGHES,                         RICHARD A. CHESLEY
OSCAR.PINKAS@DENTONS.COM                           PHUGHES@DILWORTHLAW.COM                  RICHARD.CHESLEY@DLAPIPER.COM


DLA PIPER LLP                                      DLA PIPER LLP (US)                       DOVEL & LUNER, LLP
STUART M. BROWN                                    JOE KERNAN                               GABE DOBLE
STUART.BROWN@DLAPIPER.COM                          JOSEPH.KERNEN@DLAPIPER.COM               GABE@DOVEL.COM


DOVEL & LUNER, LLP                                 DOVEL & LUNER, LLP                       DOVEL & LUNER, LLP
JEANE KHANG                                        JULIEN A. ADAMS                          SEAN A. LUNER
JEANE@DOVEL.COM                                    JULIEN@DOVEL.COM                         SEAN@DOVEL.COM


DREXEL UNIVERSITY COLLEGE OF MEDICINE              DRINKER BIDDLE & REATH LLP               DRINKER BIDDLE & REATH LLP
STEPHEN A. COZEN, ESQ.                             MARITA S. ERBECK                         PATRICK A. JACKSON
SCOZEN@COZEN.COM                                   MARITA.ERBECK@DBR.COM                    PATRICK.JACKSON@DBR.COM


DUANE MORRIS LLP                                   DUANE MORRIS LLP                         FAEGRE DRINKER BIDDLE & REATH LLP
JARRET HITCHINGS                                   MAIRI V. LUCE                            IAN J. BAMBRICK
JPHITCHINGS@DUANEMORRIS.COM                        LUCE@DUANEMORRIS.COM                     IAN.BAMBRICK@FAEGREDRINKER.COM


FAEGRE DRINKER BIDDLE & REATH LLP                  FAEGRE DRINKER BIDDLE & REATH LLP        FINEMAN KREKSTEIN & HARRIS, PC
JAY.JAFFE@FAEGREDRINKER.COM                        KAYLA BRITTON                            DEIRDRE M. RICHARDS
                                                   KAYLA.BRITTON@FAEGREDRINKER.COM          DRICHARDS@FINEMANLAWFIRM.COM


FOX ROTHSCHILD LLP                                 GELLERT SCALI BUSENKELL & BROWN, LLC     GIBBONS P.C
SETH A. NIEDERMAN                                  MICHAEL BUSENKELL                        CHRISTOPHER VICECONTE
SNIEDERMAN@FOXROTHSCHILD.COM                       MBUSENKELL@GSBBLAW.COM                   CVICECONTE@GIBBONSLAW.COM


GIBBONS P.C                                        GIBBONS P.C.                             GIBBONS P.C.
DAVID N. CRAPO                                     DALE E. BARNEY                           NATASHA M. SONGONUGA
DCRAPO@GIBBONSLAW.COM                              DBARNEY@GIBBONSLAW.COM                   NSONGONUGA@GIBBONSLAW.COM


GIBBONS P.C.                                       GORDON REES SCULLY MANSUKHANI, LLP       GORDON REES SCULLY MANSUKHANI, LLP
ROBERT K. MALONE                                   COURTNEY MAZZIO                          JOSEPH E BRENNER
RMALONE@GIBBONSLAW.COM                             CMAZZIO@GRSM.COM                         JBRENNER@GRSM.COM




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GORDON REES SCULLY MANSUKHANI, LLP                 GORDON REES SCULLY MANSUKHANI, LLP       GREENBERG TRAURIG, LLP
MICHAEL CAWLEY                                     MICHAEL HEYDEN, JR                       DENNIS A. MELORO
MCAWLEY@GRSM.COM                                   MHEYDEN@GRSM.COM                         MELOROD@GTLAW.COM


GREENBERG TRAURIG, LLP                             HOGAN & MCDANIEL                         HOGAN & MCDANIEL
NANCY A. PETERMAN                                  DANIEL C. KERRICK                        DANIEL K. HOGAN
PETERMANN@GTLAW.COM                                DCKERRICK@DKHOGAN.COM                    DKHOGAN@DKHOGAN.COM


HOGAN & MCDANIEL                                   HONIGMAN LLP                             HONIGMAN LLP
GARVAN F. MCDANIEL                                 E TODD SABLE                             LAWRENCE A. LICHTMAN
GFMCDANIEL@DKHOGAN.COM                             TSABLE@HONIGMAN.COM                      LLICHTMAN@HONIGMAN.COM


JD THOMPSON LAW                                    JEFFER MANGELS BUTLER & MITHCELL LLP     JONES WALKER LLP
JUDY D. THOMPSON                                   MMARTIN@JMBM.COM                         JEFFREY R. BARBER
JDT@JDTHOMPSONLAW.COM                                                                       JBARBER@JONESWALKER.COM


KATTEN MUCHIN ROSENMAN LLP                         KATTEN MUCHIN ROSENMAN LLP               KATTEN MUCHIN ROSENMAN LLP
CINDI M. GIGLIO                                    JERRY L. HALL                            KATHERINE SCHERLING
CGIGLIO@KATTEN.COM                                 JERRY.HALL@KATTEN.COM                    KATHERINE.SCHERLING@KATTEN.COM


KIRKLAND & ELLIS LLP                               KIRKLAND & ELLIS LLP                     KURTZMAN, STEADY, LLC
NICOLE L GREENBLATT                                STEPHEN C HACKNEY                        JEFFREY KURTZMAN
NICOLE.GREENBLATT@KIRKLAND.COM                     STEPHEN.HACKNEY@KIRKLAND.COM             KURTZMAN@KURTZMANSTEADY.COM


LATHAM & WATKINS LLP                               LATHAM & WATKINS LLP                     LAW OFFICES OF ERIC A SHORE, PC
MATTHEW J. CARMODY                                 SUZZANNE UHLAND                          GRAHAM F BAIRD
MATT.CARMODY@LW.COM                                SUZZANNE.UHLAND@LW.COM                   GRAHAMB@ERICSHORE.COM


LAW OFFICES OF MITCHELL J. MALZBERG, LLC           MARKOWITZ & RICHMAN                      MARKOWITZ AND RICHMAN
MITCHELL J. MALZBERG                               JWALTERS@MARKOWITZANDRICHMAN.COM         CLAIBORNE S. NEWLIN
MMALZBERG@MJMALZBERGLAW.COM                                                                 CNEWLIN@MARKOWITZANDRICHMAN.COM


MARON MARVEL BRADLEY ANDERSON & TARDY, LLC         MATTLEMAN WEINROTH & MILLER, P.C         MCCARTER & ENGLISH, LLP
STEPHANIE A. FOX                                   CHRISTINA PROSS                          WILLIAM F. TAYLOR
SAF@MARONMARVEL.COM                                CPROSS@MWM-LAW.COM                       WTAYLOR@MCCARTER.COM


MED ONE CAPITAL FUNDING, LLC                       MOYE WHITE LLP                           MOYE WHITE LLP
DLEIGH@RQN.COM                                     TIMOTHY M. SWANSON                       VIKRAMA S. CHANDRASHEKAR
                                                   TIM.SWANSON@MOYEWHITE.COM                VIKA.CHANDRASHEKAR@MOYEWHITE.COM


O’DONOGHUE & O’DONOGHUE LLP                        OFFICE OF ATTORNEY GENERAL               OFFICE OF ATTORNEY GENERAL
LANCE GEREN, ESQ.                                  CAROL E. MOMJIAN                         CHRISTOPHER R. MOMJIAN
LGEREN@ODONOGHUELAW.COM                            CMOMJIAN@ATTORNEYGENERAL.GOV             CRMOMJIAN@ATTORNEYGENERAL.GOV


OFFICE OF ATTORNEY GENERAL                         OFFICE OF ATTORNEY GENERAL               OFFICE OF THE UNITED STATES ATTORNEY
DAVID DEMBE                                        LISA M. RHODE                            USADE.ECFBANKRUPTCY@USDOJ.GOV
DDEMBE@ATTORNEYGENERAL.GOV                         LRHODE@ATTORNEYGENERAL.GOV


OFFICE OF THE UNITED STATES TRUSTEE                PACHULSKI STANG ZIEHL & JONES LLP        PACHULSKI STANG ZIEHL & JONES LLP
BENJAMIN HACKMAN                                   LAURA DAVIS JONES                        TIMOTHY P CAIRNS
BENJAMIN.A.HACKMAN@USDOJ.GOV                       LJONES@PSZJLAW.COM                       TCAIRNS@PSZJLAW.COM


PEARLMAN & MIRANDA, LLC.                           PEPPER HAMILTON, LLP                     PEPPER HAMILTON, LLP
PATRICIA A CELANO                                  FRANCIS J. LAWALL                        MARCY J. MCLAUGHLIN
PCELANO@PEARLMANMIRANDA.COM                        FRANCIS.LAWALL@TROUTMAN.COM              MARCY.SMITH@TROUTMAN.COM


POLSINELLI P.C                                     POTTER ANDERSON & CORROON LLP            POTTER ANDERSON & CORROON LLP
CHRISTOPHER A. WARD                                D. RYAN SLAUGH                           JEREMY W. RYAN
CWARD@POLSINELLI.COM                               RSLAUGH@POTTERANDERSON.COM               JRYAN@POTTERANDERSON.COM




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POTTER ANDERSON & CORROON LLP                      REED SMITH LLP                                RICHARDS LAYTON & FINGER, PA
R. STEPHEN MCNEILL                                 LOUIS A. CURCIO                               BRENDAN J. SCHLAUCH
RMCNEILL@POTTERANDERSON.COM                        LCURCIO@REEDSMITH.COM                         SCHLAUCH@RLF.COM


RICHARDS LAYTON & FINGER, PA                       RICHARDS LAYTON & FINGER, PA                  SALMON, RICCHEZZA, SINGER & TURCHI, LLP
MARK D. COLLINS                                    MICHAEL J. MERCHANT                           RONALD L. DAUGHERTY
COLLINS@RLF.COM                                    MERCHANT@RLF.COM                              RDAUGHERTY@SRSTLAW.COM


SAUL EWING ARNSTEIN & LEHR LLP                     SAUL EWING ARNSTEIN & LEHR LLP                SAUL EWING ARNSTEIN & LEHR LLP
ADAM ISENBERG                                      JEFFREY HAMPTON                               MARK MINUTI
ADAM.ISENBERG@SAUL.COM                             JEFFREY.HAMPTON@SAUL.COM                      MARK.MINUTI@SAUL.COM


SAUL EWING ARNSTEIN & LEHR LLP                     SCHNADER HARRISON SEGAL & LEWIS LLP           SCHNADER HARRISON SEGAL & LEWIS LLP
MONIQUE DISABATINO                                 NICHOLAS J. LEPORE                            RICHARD A. BARKASY
MONIQUE.DISABATINO@SAUL.COM                        NLEPORE@SCHNADER.COM                          RBARKASY@SCHNADER.COM


SHIPMAN & GOODWIN LLP                              SILLS CUMMIS & GROSS P.C                      SILLS CUMMIS & GROSS P.C.
ERIC S. GOLDSTEIN                                  ANDREW H. SHERMAN                             BORIS I. MANKOVETSKIY
EGOLDSTEIN@GOODWIN.COM                             ASHERMAN@SILLSCUMMIS.COM                      BMANKOVETSKIY@SILLSCUMMIS.COM


SMITH HULSEY & BUSEY                               SMITH HULSEY & BUSEY                          STEVENS & LEE, P.C.
BRANDON A. COOK                                    MICHAEL E. DEMONT                             JOSEPH H. HUSTON
BCOOK@SMITHHULSEY.COM                              MDEMONT@SMITHHULSEY.COM                       JHH@STEVENSLEE.COM


STEVENS & LEE, P.C.                                STINSON LLP                                   STINSON LLP
ROBERT LAPOWSKY                                    DARRELL CLARK                                 TRACEY M. OHM
RL@STEVENSLEE.COM                                  DARRELL.CLARK@STINSON.COM                     TRACEY.OHM@STINSON.COM


STOEL RIVES LLP                                    STRADLEY, RONON, STEVENS & YOUNG, LLP         STRADLEY, RONON, STEVENS & YOUNG, LLP
MARC A. AL                                         DEBORAH A. REPEROWITZ                         GRETCHEN M. SANTAMOUR
MARC.AL@STOEL.COM                                  DREPEROWITZ@STRADLEY.COM                      GSANTAMOUR@STRADLEY.COM


STRADLEY, RONON, STEVENS & YOUNG, LLP              STREUSAND, LANDON, OZBURN & LEMMON, LLP       SULLIVAN, HAZELTINE, ALLISON, LLC.
JOELLE E. POLESKY                                  SABRINA L. STREUSAND                          WILLIAM D. SULLIVAN
JPOLESKY@STRADLEY.COM                              STREUSAND@SLOLLP.COM                          BSULLIVAN@SHA-LLC.COM


THE ROSNER LAW GROUP LLC                           U.S. DEPT OF JUSTICE                          UNDERWOOD PERKINS, P.C.
FREDERICK B. ROSNER                                MARCUS.S.SACKS@USDOJ.GOV                      DAVID L. CAMPBELL
ROSNER@TEAMROSNER.COM                                                                            DCAMPBELL@UPLAWTX.COM


UNDERWOOD PERKINS, P.C.                            WHITE AND WILLIAMS LLP                        WHITE AND WILLIAMS LLP
ELI D. PIERCE                                      AMY E. VULPIO                                 MARC S. CASARINO
EPIERCE@UPLAWTX.COM                                VULPIOA@WHITEANDWILLIAMS.COM                  CASARINOM@WHITEANDWILLIAMS.COM


WILLIG, WILLIAMS & DAVIDSON
JESSICA KOLANSKY
JKOLANSKY@WWDLAW.COM


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CITY OF PHILADELPHIA                              FREEDMAN & LORRY, P.C.                       INTERNAL REVENUE SERVICE
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1515 ARCH ST, 17TH FL                             ATTN: TRAINING & UPGRADING FUND              PHILADELPHIA, PA 19101-7346
PHILADELPHIA, PA 19102                            1601 MARKET ST, STE 1500
                                                  PHILADELPHIA, PA 19103



INTERNATIONAL BROTHERHOOD OF                      LAW OFFICES OF ERIC A. SHORE, P.C.           NATIONAL UNION OF HOSPITAL AND
ELECTRICAL WORKERS, LOCAL 98                      ATTN: GRAHAM F. BAIRD, ESQ.                  HEALTHCARE EMPLOYEES, AFSCME, AFL-CIO
1701 SPRING GARDEN ST                             TWO PENN CENTER                              1319 LOCUST ST
PHILADELPHIA, PA 19130                            1500 JFK BOULEVARD, SUITE 120                PHILADELPHIA, PA 19107
                                                  PHILADELPHIA, PA 19102



NATIONAL UNION OF HOSPITAL AND                    OFFICE OF THE ATTORNEY GENERAL               PENNSYLVANIA ASSOC OF
HEALTHCARE EMPLOYEES, DISTRICT 1199C              ATTN: JOSH SHAPIRO, ESQUIRE                  STAFF NURSES AND ALLIED PROFESSIONALS
1319 LOCUST ST                                    ATTN: BANKRUPTCY DEPT                        1 FAYETTE STREET, SUITE 475
PHILADELPHIA, PA 19107                            16TH FL, STRAWBERRY SQ                       CONSHOHOCKEN, PA 19428
                                                  HARRISBURG, PA 17120



PENNSYLVANIA DEPT OF HEALTH                       ST. MARY'S MEDICAL CTR                       UNITED STATES DEPARTMENT OF JUSTICE
ATTN: DR. RACHEL LEVINE                           1201 LANGHORNE-NEWTOWN RD                    ATTN: CIVIL DIVISION
HEALTH AND WELFARE BUILDING                       LANGHORNE, PA 19047                          950 PENNSYLVANIA AVE, NW
625 FORESTER ST, 8TH FL W                                                                      WASHINGTON, DC 20530-0001
HARRISBURG, PA 17120



UNITED STATES DEPT OF JUSTICE
950 PENNSYLVANIA AVE, NW
WASHINGTON, DC 20530-0001




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